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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Eloise Lockhart
                                         Plaintiff,
v.                                                       Case No.: 1:13−cv−09323
                                                         Honorable Thomas M. Durkin
HSBC Finance Corporation, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 3, 2019:


        MINUTE entry before the Honorable Thomas M. Durkin:Plaintiff's motion to for
leave to file an amended complaint [150] [152] is granted. Defendants have to 10/1/2019
to answer or otherwise plead. If a motion to dismiss is filed, plaintiff has to 10/29/2019 in
which to respond. Defendants' reply is due by 11/19/2019. Status hearing held on
9/3/2019. Status hearing set for 1/8/2020 at 09:00 AM.Mailed notice(srn, )




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